Case 1:17-cr-10052-STA       Document 42      Filed 08/28/17     Page 1 of 1     PageID 60




                     IN THE UNITED STATES DISTRICT COURT
                    FOR THE WESTERN DISTRICT OF TENNESSEE
                               EASTERN DIVISION

UNITED STATES OF AMERICA,                 *

                    Plaintiff,            *

vs.                                       *             CR. NO.: 17-10052-STA

BRYNDARIOUS MARKEASE FUTRELL, *
                    Defendant.            *




      ORDER SETTING CHANGE OF PLEA HEARING AND NOTICE OF SETTING



      Upon Motion of the Defendant herein and for good cause shown, this matter is here by

SET FOR A CHANGE OF PLEA HEARING on Tuesday, September 19, 2017 at 9:30 a.m.


      IT IS SO ORDERED, this the 28th day of August, 2017.




                                          s/S. Thomas Anderson
                                          HONORABLE S. THOMAS ANDERSON
                                          CHIEF UNITED STATES DISTRICT JUDGE
